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                                                                                                                          10/16/2020
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                                                                  October 15, 2020

Via ECF- Letter Motion

The Honorable Andrew L. Carter, Jr.
United States District Judge
United States District Court, Southern District of New York
40 Foley Square
New York, New York 10007
                                                        Re:                    Vuppala v. J.P.G., LLC, et al.
                                                                               Case No.: 19-cv-04233-ALC

Dear Judge Carter:

                 We represent Defendant, J.P.G. LLC, in the above-captioned matter. We write jointly with
Plaintiff’s counsel, Brad Weitz, Esq., and co-defendant’s counsel, Jeffrey Chancas, Esq., in accordance
with Your Honor’s September 17, 2020 Order [ECF No. 41]. At this time, the parties are jointly requesting
an extension of the existing stay in this matter.

                 As we stated in our prior letters, due to the ongoing national health crisis caused by the
COVID-19 pandemic, coupled with the mandated closure of non-essential public businesses in New York
City, which has adversely affected the business in this matter, it is very difficult for the parties to proceed
in this matter with discovery and productive settlement negotiations at this time.

                 Therefore, the parties jointly hereby respectfully request that the Court grant an additional
sixty (60) day stay of all deadlines and/or any conference in this matter. The undersigned has conferred
with all counsel who join in on this request. We thank you for your attention and consideration.

                                                                  Respectfully submitted,                          It is hereby ORDERED that
                                                                                                                   an additional 60-day stay is
                                                                  JACKSON LEWIS P.C.                               GRANTED. As this is the
                                                                                                                   fourth request for a stay, no
                                                                  /s/ Joseph J. DiPalma                            further requests will be
                                                                  Joseph J. DiPalma                                granted, absent good cause
cc: Brad Weitz (via ECF)                                                                                           shown.
    Jeffrey C. Chancas (via ECF)




                                                                                                   Dated: October 16, 2020
